Case 2:22-cr-00212-LMA-MBN Document 46 Filed 03/14/23 Page 1of5

U.S. Department of Justice
United States Attorney
Eastern District of Louisiana

 

 

Tracey N. Knight The Poydras Center Telephone: 504-680-3080
Assistant United States Attorney 650 Poydras Street, Suite 1600
Chief, Criminal Division New Orleans, Louisiana 70130

March 13, 2023

Honorable Lance M. Africk
United States District Judge
Eastern District of Louisiana
500 Poydras Street

New Orleans, Louisiana 70130

Re: United States v. Rodney Vicknair
Criminal Docket Number 22-212 “T” (5)

Dear Judge Africk:

In compliance with the holding of Bryan v. United States, 492 F.2d 775 (Sth Cir. 1974),
and with Rule 11 of the Federal Rules of Criminal Procedure, the Government wishes to
acknowledge the following agreement between the Government and Rodney Vicknair, the
defendant, in the above-captioned proceeding. Defendant’s undersigned counsel, Townsend M.
Myers, has reviewed the terms of this agreement and has been advised by the defendant that the
defendant fully understands the terms of this agreement.

The Government has agreed that should the Court accept the defendant’s plea of guilty to
Count | of the Bill of Information, the Government will not bring any other charges in the Eastern
District of Louisiana arising from defendant’s deprivation of V1’s rights while serving as a New
Orleans Police Officer, as long as the defendant has truthfully informed law enforcement officials
of the full and complete details of those crimes prior to his guilty plea in this case, The defendant
understands that this does not apply to crimes of violence that the defendant may have committed.

The defendant understands that for defendant to be guilty of the crime charged in the
information that is, Deprivation of Rights under Color of Law, in violation of Title 18, United
States Code, Section 242, the following must be true and the defendant must agree to it: (1) that
the defendant deprived V1 of a right secured by the Constitution or laws of the United States,
namely, her fundamental right to bodily integrity; (2) that the defendant acted willfully; (3)
defendant acted under the color of law; and (4) that the defendant’s conduct included kidnapping.

Page 1 of 5

AUSA
Defendant

Defense Counsel WV

a
Case 2:22-cr-00212-LMA-MBN Document 46 Filed 03/14/23 Page 2 of 5

The defendant understands that the statutory maximum term for the crime to which he
is pleading guilty is up to life in prison. However, the Government and the defendant have
agreed, pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), that should the Court accept
the defendant’s plea of guilty to the Information, a sentence of 14 years (168 months)
imprisonment is appropriate.

The defendant understands that the Court may accept or reject the Rule 11(c)(1)(C)
agreement, or may defer its decision as to the acceptance or rejection until there has been an
opportunity to consider the pre-sentence report as provided for in F.R.Cr.P. 11(c)(3)(A). The
parties further agree that should the Court not abide by this agreement, the defendant or the
Government has the option of declaring this plea agreement null and void.

It is also understood that the restitution provisions of Sections 3663 and 3663A of Title 18,
United States Code, will apply. The defendant agrees that any restitution imposed will be non-
dischargeable in any bankruptcy proceeding and that defendant will not seek or cause to be sought
a discharge or a finding of dischargeability as to the restitution obligation. The defendant further
acknowledges and understands that, notwithstanding any payment schedule imposed at sentencing
or during probation or supervised release, restitution is due and payable in full immediately upon
entry of the judgment of conviction.

Further, the defendant understands that a mandatory special assessment fee of $100.00
shall be imposed under the provisions of Section 3013 of Title 18, United States Code. This special
assessment must be paid on the date of sentencing. Failure to pay this special assessment may
result in the plea agreement being void.

The defendant further understands that the Court, in imposing a sentence of a term of
imprisonment, may include as part of the sentence a requirement that the defendant be placed on
a term of supervised release after imprisonment for a period of up to five years pursuant to Title
18, United States Code, Section 3583. Supervised release is a period following release from prison
during which defendant's conduct will be monitored by the Court or the Court's designee.
Defendant fully understands that if defendant violates any of the conditions of supervised release
that the Court has imposed, defendant's supervised release may be revoked and defendant may be
ordered by the Court to serve in prison all or part of the term of supervised release.

Defendant understands that Title 18, United States Code, Section 3742 and Title 28, United
States Code, Section 1291, may give a criminal defendant the right to appeal his conviction,
sentence, restitution, fine, and judgment imposed by the Court. Defendant also understands that
he may have the right to file collateral challenges to his conviction and sentence, and judgment,
including but not limited to rights provided by Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, and writs of coram nobis and audita querela. Defendant further understands that Title
18, United States Code, Section 3582(c)(2), may allow the Court to grant a sentencing reduction
to the defendant if the defendant has been sentenced to a term of imprisonment based upon a
sentencing range that has been subsequently lowered by the United States Sentencing Commission

 

 

Page 2 of 5
AUSA
Defendant
Defense Counsel J W

 

XN
Case 2:22-cr-00212-LMA-MBN Document 46 Filed 03/14/23 Page 3 of 5

and determined to apply retroactively to defendants who already have been sentenced to a term of
imprisonment.

Acknowledging these rights, subject only to the exceptions indicated in subsection (e)
below, the defendant, in exchange for the promise(s) and agreement(s) made by the United States
in this plea agreement, knowingly and voluntarily:

a. Waives and gives up any right to appeal or contest his guilty plea, conviction,
sentence, fine, supervised release, and any restitution imposed by any judge under any applicable
restitution statute, including but not limited to any right to appeal any rulings on pretrial motions
of any kind whatsoever, as well as any aspect of his sentence, including but not limited to any and
all rights which arise under Title 18, United States Code, Section 3742 and Title 28, United States
Code, Section 1291;

b. Waives and gives up any right to appeal any order, decision, or judgment arising
out of or related to Title 18, United States Code, Section 3582(c)(2) imposed by any judge and
further waives and gives up any right to challenge the manner in which his sentence was
determined and to challenge any United States Sentencing Guidelines determinations and their
application by any judge to the defendant’s sentence and judgment;

C. Waives and gives up any right to challenge his sentence collaterally, including but
not limited to any and all rights which arise under Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, writs of coram nobis and audita querela, and any other collateral challenges to his
sentence of any kind;

d. Waives and gives up any and all constitutional or legal challenges, including
arguments that the statutes to which he is pleading guilty are unconstitutional; and

e. The defendant specifically does not waive, and retains the right to bring a direct
appeal of any sentence imposed in excess of the statutory maximum. The defendant also retains
the right to raise a claim of ineffective assistance of counsel in an appropriate proceeding.

The defendant further waives any right to seek attorney’s fees and/or other litigation
expenses under the “Hyde Amendment,” Title 18, United States Code, Section 3006A and the
defendant acknowledges that the Government’s position in the instant prosecution was not
vexatious, frivolous or in bad faith.

The defendant is also aware that in determining a fair and just sentence, the Court has the
authority and discretion, pursuant to Title 18, United States Code, Sections 3553 and 3661 and
Section 1B1.3 of the United States Sentencing Guidelines, to consider any and all “relevant
conduct” that the defendant was involved in, the nature and circumstances of the offenses, and the
history and characteristics of the defendant.

Page 3 of 5
AUSA
Defendant

Defense Counsel ea}

 
Case 2:22-cr-00212-LMA-MBN Document 46 Filed 03/14/23 Page 4 of5

In an effort to resolve this matter in a timely fashion and show good faith, the defendant
agrees to knowingly, voluntarily, and expressly waive his rights pursuant to Rule 410(a) of the
Federal Rules of Evidence upon signing this plea agreement and the factual basis. The defendant
understands and agrees that in the event the defendant violates the plea agreement, withdraws his
decision to plead guilty, his guilty plea is later withdrawn or otherwise set aside, any statements
made by the defendant to law enforcement agents or an attorney for the prosecuting authority
during plea discussions, any statements made by the defendant during any court proceeding
involving the defendant’s plea of guilty, including any factual bases or summaries signed by the
defendant, and any leads from such statements, factual bases or summaries, shall be admissible for
all purposes against the defendant in any and all criminal proceedings.

The defendant agrees to forfeit to the United States any right, title, and interest in all assets
subject to forfeiture under the notice(s) of forfeiture contained in the charging document, including
property specified in any bill of particulars and property previously seized by the government for
administrative, civil, or criminal forfeiture. The defendant further consents to the filing ofa motion
for a preliminary order forfeiting such property and any dollar amount specified in the notice(s) of
forfeiture or bill of particulars, and the defendant confesses the requisite nexus between the
property and the charge(s) of conviction. The defendant hereby withdraws any petition for
remission or claim for such property and further waives any right to contest or appeal the
government’s forfeiture proceedings for any reason, including on grounds that the forfeiture
constitutes an unconstitutionally excessive fine or punishment, and in any manner, including by
claim, petition, appeal, or collateral attack.

The defendant further agrees to submit to interviews whenever and wherever requested by
law enforcement authorities regarding all assets currently or previously within defendant’s
possession. It is also understood that defendant will provide any and all financial information and
documentation requested by the government, agrees to voluntarily execute a complete and
thorough Financial Statement of Debtor, and further agrees to provide the requested List of Items
that is attached to the Financial Statement. The defendant understands this information may be
provided to a representative of any victim of this offense.

The defendant recognizes that any criminal monetary penalty, whether special assessment,
criminal fine, or restitution, that is owed as a result of his conviction will be immediately submitted
to the Treasury Offset Program. The defendant waives any objection to his inclusion in the
Treasury Offset Program.

Page 4 of 5
AUSA
Defendant
Defense Counse
Case 2:22-cr-00212-LMA-MBN Document 46 Filed 03/14/23 Page 5 of5

The defendant understands that the statements set forth above and in the attached SEALED
document (Attachment “A”) represents defendant’s entire agreement with the Government; there
are not any other agreements, letters, or notations that will affect this agreement.

Very truly yours,

DUANE A. EVANS
UNITED STATES ATTORNEY

TRACEY N. KNIGHT
Assistant United States Attorney

iar ribo BAT

RODNEY VJEKN Date
Defe

i 3/nbe/z
TOWNSEND M. MYE Date

Attorney for Defenda

 

 

Page 5 of §
